Case 2:24-cr-00091-ODW   Document 164-2 Filed 11/05/24   Page 1 of 12 Page ID
                                   #:2024
Case 2:24-cr-00091-ODW   Document 164-2 Filed 11/05/24   Page 2 of 12 Page ID
                                   #:2025
Case 2:24-cr-00091-ODW   Document 164-2 Filed 11/05/24   Page 3 of 12 Page ID
                                   #:2026
Case 2:24-cr-00091-ODW   Document 164-2 Filed 11/05/24   Page 4 of 12 Page ID
                                   #:2027
Case 2:24-cr-00091-ODW   Document 164-2 Filed 11/05/24   Page 5 of 12 Page ID
                                   #:2028
Case 2:24-cr-00091-ODW   Document 164-2 Filed 11/05/24   Page 6 of 12 Page ID
                                   #:2029
Case 2:24-cr-00091-ODW   Document 164-2 Filed 11/05/24   Page 7 of 12 Page ID
                                   #:2030
Case 2:24-cr-00091-ODW   Document 164-2 Filed 11/05/24   Page 8 of 12 Page ID
                                   #:2031
Case 2:24-cr-00091-ODW   Document 164-2 Filed 11/05/24   Page 9 of 12 Page ID
                                   #:2032
Case 2:24-cr-00091-ODW   Document 164-2 Filed 11/05/24   Page 10 of 12 Page ID
                                   #:2033
Case 2:24-cr-00091-ODW   Document 164-2 Filed 11/05/24   Page 11 of 12 Page ID
                                   #:2034
Case 2:24-cr-00091-ODW   Document 164-2 Filed 11/05/24   Page 12 of 12 Page ID
                                   #:2035
